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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA


         UNITED STATES OF AMERICA

                        vs                             ABSTRACT OF ORDER
                                 .
                                                        Booking No.   G~(/-;    11 '), OJ ZS
 l/lJJJX Ir iaJ- Lad l 11e s
TO THE UNITED STATES MARSHAL AND I OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
         ~~~~u~~~---J~f_0~a-
                           ~                          __/_i_1_,_2_0_1_g_      _________
the Court entered the following order:




_ _ _'+,/   ~-- Defendant be released from custody.
_ _ _ _ _ _ _ Defendant placed on supervised I unsupervised probation I supervised release.

-------Defendant continued on supervised I unsupervised probation I supervised release.



                                                         O_li_R.~--------
- - - - - ' - - - - - - Defendant released on $ _ _ _ _ _ _                                    bond posted.
- - - - - - - Defendant appeared in Court. FINGERPRINT & RELEASE.
_ _ _ _ _ _ _ Defendant remanded and ( _ ___ bond) ( _ _ __                  bond on appeal) exonerated.

_ _ _ _ ___ Defendant sentenced to TIME SERVED, supervised release for_ _ _ years.

- - - - - - - Bench Warrant Recalled.
_ _ _ _ _ _ _ Defendant forfeited collateral.
_ _ _ _ _ _ _ Case dismissed.

_ _ _ _ _ _ _ Case dismissed, charges pending in case no. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

_ _ _ __ __ Defendant to be released to Pretrial Services for electronic monitoring.

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                                                                                     OR
                                                          JOHN MORRILL                         Clerk
                                                          by          ( __

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Crim-9    (Rev. 8-11)




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